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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 BERNHARDT TIEDE, II;                               §
 et al.,                                            §
                                                    §
                Plaintiffs,                         §
 v.                                                 §
                                                    §
 BRYAN COLLIER, in his official capacity as              Civil Action No.: 1:23-cv-01004-RP
                                                    §
 Executive Director of Texas Department of          §
 Criminal Justice,                                  §
                                                    §
                Defendant.                          §

      PLAINTIFFS’ NOTICE OF WITHDRAWAL OF MOTION TO SHOW CAUSE

       In light of the Court’s order on the motion for preliminary injunction, which specifically

considers the report by TDCJ on the issue of its fabricated temperature records, Plaintiffs

respectfully withdraw any remaining aspect of their motion to show cause seeking relief other than

that which was already granted by the Court. Doc. 200.
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Dated: March 28, 2025.                    Respectfully submitted,


                                          /s/ Jeff Edwards
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                                CERTIFICATE OF SERVICE

       By my signature below, I certify that the foregoing document has been electronically
served on all counsel of record by filing with the Court’s electronic case files system.

                                             /s/ Jeff Edwards
                                             Jeff Edwards




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